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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

Bridgette King,

y Plaintiff ‘ Civil Action No.: 1:10-cv-976

Allied Data Corporation; and DOES 1-10,
inclusive,

Defendant.

NOTICE OF SETTLEMENT
NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement, The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. Civ. P. 41 (a) within 30 days.

Dated: July 20, 2010
Respectfully submitted,
PLAINTIEF, Bridgette King

/s/ Jody B. Burton

Jody B. Burton, Esq.

Bar No.: 71681

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CERTIFICATE OF SERVICE

_Thereby certify that on July 20, 2010, a true and correct copy of the foregoing Notice of
Settlement was served electronically by the U.S. District Court Middle District of Pennsylvania
Electronic Document Filing System (ECF) and that the document is available on the ECF

system.

By_/s/ Jody B. Burton

Jody B. Burton
